Case 1:21-cv-20408-JEM Document 418 Entered on FLSD Docket 06/26/2025 Page 1 of 4




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                   Case No. 21-20408-CIV-MARTINEZ

  KENNETH CAREY and
  STEVE ANYADIKE,

          Plaintiffs,
  v.

  JONATHAN KIRK, et al.,

          Defendants.
                                    /

                    DEFENDANT JONATHAN KIRK’S AND BILLION
                 DOLLAR BABY ENTERTAINMENT, LLC’S MOTION FOR
               ENTRY OF JUDGMENT ON THEIR ATTORNEYS’ FEE AWARD

          Pursuant to Rule 58 of the Federal Rules of Civil Procedure and this Court’s Order on

  Attorneys’ Fees dated April 22, 2025 (ECF No. 410), Defendants Jonathan Kirk (“Kirk”) and

  Billion Dollar Baby Entertainment, LLC (“BDBE”) (collectively, the “BDBE Defendants”)

  respectfully move for entry of judgment on the attorneys’ fees award to them and against Plaintiffs’

  counsel, Jonathan May and the Lions’ Den. As grounds, the BDBE Defendants state:

          On April 22, 2025, the Court entered an Order on Attorneys’ Fees which, inter alia,

  awarded BDBE fees totaling $257,365.50 (ECF No. 410 at 4) and Kirk fees of $162,365.50 (Id.)

  plus $197,140.00 (Id. at 6), for a total of $359,505.50 to Kirk. 1 Those fees were assessed against

  both May and the Lions’ Den.




  1
   The Court awarded fees to Kirk incurred by the two law firms which represented him in this action, GrayRobinson,
  P.A. and Findling Law Firm.
Case 1:21-cv-20408-JEM Document 418 Entered on FLSD Docket 06/26/2025 Page 2 of 4




         Pursuant to Fed. R. Civ. P. 58(a)(3), “[e]very judgment and amended judgment must be set

  out in a separate document, but a separate document is not required for an order disposing of a

  motion …. for attorney’s fees under Rule 54. .…”

         However, Fed. R. Civ. P. 58(b)(1)(B) provides that “[s]ubject to Rule 54(b) and unless the

  court orders otherwise, the clerk must, without awaiting the court’s direction, promptly prepare,

  sign, and enter the judgment when … the court awards a sum certain….”

         Here, the Clerk has not entered a judgment reflecting the Court’s fee award. Therefore,

  the BDBE Defendants request entry of a judgment pursuant to Fed. R. Civ. P. 58(d), which

  provides that “[a] party may request that a judgment be set out in a separate document as required

  by Rule 58(a).”

         Courts in this district have found it appropriate under Rule 58 to enter judgment on fee

  awards. See Nena Bonsignore v. QBE Specialty Insur. Co., Case No. 1:23-cv-23812, 2025 WL

  1294991, at *1-2 (S.D. Fla. Feb. 14, 2025) (noting that “[a]t issue is whether a separate judgment

  is warranted in light of Rule 58(a)(3),” and concluding it was appropriate to enter one, as “[a]

  separate final judgment on fees and costs is not unusual ….”).

         In sum, the BDBE Defendants respectfully request entry of judgment against May and the

  Lions’ Den and in favor of BDBE for $257,365.50 and in favor of Kirk for $359,505.50.



                                 CERTIFICATE OF CONFERRAL

         Pursuant to Local Rule 7.1(a)(3)(A), I hereby certify that I have conferred with Plaintiffs’

  counsel, Jonathan May, on June 25, 2025, by email and phone, and Mr. May stated that he opposes

  the relief sought in this Motion.




                                                  2
Case 1:21-cv-20408-JEM Document 418 Entered on FLSD Docket 06/26/2025 Page 3 of 4




        Dated this 26 day of June, 2025.

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                                               /s/ Drew Findling
                                               DREW FINDLING, admitted pro hac vice

                                               /s/ Zack Kelehear
                                               ZACK KELEHEAR, admitted pro hac vice




                                           3
Case 1:21-cv-20408-JEM Document 418 Entered on FLSD Docket 06/26/2025 Page 4 of 4




                                    CERTIFICATE OF SERVICE

           I hereby certify that on June 26, 2025, I electronically filed the foregoing with the Clerk of the

  Court by using the CM/ECF. I also certify that the foregoing document is being served this day on all

  counsel of record or pro se parties identified on the attached Service List in the manner specified,

  either via transmission of Notice of Electronic Filing generated by CM/ECF or in some other

  authorized manner for those counsel or parties who are not authorized to receive electronically Notices

  of Electronic Filing.

                                                                 /s/ Scott L. Cagan
                                                                 SCOTT L. CAGAN




                                            SERVICE LIST



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